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          Exhibit 3
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                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            Charlottesville Division

      ELIZABETH SINES, SETH WISPELWEY,
      MARISSA BLAIR, APRIL MUNIZ,
      MARCUS MARTIN, NATALIE ROMERO,
      CHELSEA ALVARADO, THOMAS BAKER
      and JOHN DOE,


                           Plaintiffs,
      v


      JASON KESSLER, RICHARD SPENCER,
      CHRISTOPHER CANTWELL, JAMES
      ALEX FIELDS, JR , VANGUARD          Civil Action No. 3:17-cv-00072-NKM
      AMERICA, ANDREW ANGLIN,
      MOONBASE HOLDINGS, LLC, ROBERT
      “AZZMADOR” RAY, NATHAN DAMIGO,
      ELLIOT KLINE a/k/a/ ELI MOSLEY,
      IDENTITY EVROPA, MATTHEW
      HEIMBACH, MATTHEW PARROTT a/k/a
      DAVID MATTHEW PARROTT,
      TRADITIONALIST WORKER PARTY,
      MICHAEL HILL, MICHAEL TUBBS,
      LEAGUE OF THE SOUTH, JEFF SCHOEP,
      NATIONAL SOCIALIST MOVEMENT,
      NATIONALIST FRONT, AUGUSTUS SOL
      INVICTUS, FRATERNAL ORDER OF THE
      ALT-KNIGHTS, MICHAEL “ENOCH”
      PEINOVICH, LOYAL WHITE KNIGHTS OF
      THE KU KLUX KLAN, and EAST COAST
      KNIGHTS OF THE KU KLUX KLAN a/k/a
      EAST COAST KNIGHTS OF THE TRUE
      INVISIBLE EMPIRE,




                           Defendants


                     DECLARATION OF MICHAEL L. BLOCH
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             I, Michael L Bloch, on this 12th day of August, 2021, pursuant to 28 U S C § 1746,

     declare as follows:

             1        I am Counsel at the law firm Kaplan, Hecker & Fink LLP (“KHF”), one of the law

     firms representing the Plaintiffs in this action

             2        I am a member in good standing of the Washington, D C and New York State Bars

     I am also admitted to practice before the U S District Court for the Southern District of New York

     I have been admitted to appear pro hac vice before this Court for and on behalf of the Plaintiffs in

     the above-captioned action

             3        I submit this Declaration in support of Plaintiffs’ Motion for Sanctions Against

     Defendant Matthew Heimbach ECF 457, 539, 1005 Except to the extent otherwise expressly

     indicated, I have personal knowledge of the matters set forth in this Declaration

     I.      Attempts to Obtain Relevant ESI from Heimbach’s Deleted Social Media Accounts

             4        I am informed by KHF staff with whom I worked on Plaintiffs’ Motion for

     Sanctions Against Defendant Matthew Heimbach that Plaintiffs attempted to recover relevant ESI 1

     from Heimbach’s deleted @MatthewWHeimbach Gab account, MatthewHeimbach VK account,

     and MatthewHeimbach DS account (collectively, the “Content”) through various means

             5        I am informed that staff at KHF searched the internet for any available Content

     using the following processes:

                      a        Internet Archival Searches: Each Gab, and VK account handle was entered

     into the search engine of the internet archival services Archive org, The WayBack Machine, and

     Archive is All Content recovered was saved for review However, I am informed that these



     1
      All abbreviations and short form citations in this Declaration share the same meaning as set out in Plaintiffs
     Supplemental Memorandum of Law in Support of Plaintiffs Motion for Sanctions Against Defendant Matthew
     Heimbach, ECF 1005.

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     internet archival services do not provide a complete record of the social media platforms they

     archive Instead, they take periodic snapshots of the platforms If any data is posted to and deleted

     from the platform between two snapshots, that data is not archived Nor is any metadata retained

     on these platforms

                       b        Reverse-Image Searches: The profile pictures contained in the Gab and VK

     Content KHF found using the internet archival services were run through reverse-image search

     engines on Google, Tineye, and Yandex I am informed that such a reverse-image search could

     potentially locate screenshots of Content taken by third parties and reposted elsewhere online

     However, third-party screenshots of posts to a social media platform are imperfect: by their nature,

     they do not capture metadata and embedded video or audio data from the underlying post All

     Content recovered through these reverse-image searches was saved for review

                       c        Web Crawls: Lastly, for Gab and VK, KHF staff used a web crawler, 2

     Octoparse, to search for mentions of Heimbach on each platform Octoparse can only locate

     information that is publicly available All Content recovered through these web crawls was saved

     for review

                       d        TOR Hidden Service Searches: Because DS is hosted on a TOR Hidden

     Service, for security reasons, KHF staff undertook a different process to search for DS Content A

     KHF staff member installed TOR in order to access the DS forum, then searched the forum for all

     posts made by the account @MatthewHeimbach and collected any results for review However,

     DS apparently removed several functions from its forum, including private messaging and public-




     2
      I am informed that a web crawler is a program that iteratively and automatically accesses all pages from a website
     (with some exceptions, including any pages that require authentication) and returns any pages that hit on a specified
     search.

                                                              2
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     facing profile pages, on October 28, 2018 KHF’s searches thus could not recover any of this

     Content from Heimbach’s DS account

            6       I am informed that staff at KHF also searched all document productions by parties

     to this litigation and by subpoenaed third parties:

                    a       Staff searched for documents containing “MatthewHeimbach” or

     “@MatthewHeimbach ” I am informed that this returned 671 results, only one of which contained

     a screenshot of Content Heimbach posted to VK on July 20, 2017 and one of which indicated that

     Heimbach had accepted a friend request from the League of the South’s VK account on August

     24, 2017, and one of which contained a screenshot of Content Heimbach posted to DS on an

     unknown date The first and third of these documents were produced by co-Defendant Jason

     Kessler The second was produced by co-Defendant League of the South The other documents

     containing Heimbach’s VK or DS Content that hit on this search were located by Plaintiffs through

     the independent searches above

                    b       Staff searched for documents containing “@MatthewWHeimbach ” This

     returned 177 results, only one of which contained the text of a repost by Heimbach on December

     13, 2017, of an Occidental Dissent’s post, one of which indicated that Heimbach started following

     the League of the South Gab account on September 9, 2017, and one of which indicated that

     Heimbach started following Matthew Parrott’s Gab account on August 31, 2017 The first two of

     these documents were produced by co-Defendant League of the South, and the third was produced

     by co-Defendant Matthew Parrott The other documents containing Heimbach’s Gab Content that

     hit on this search were located by Plaintiffs through the independent searches above

            7       Plaintiffs also attempted to subpoena certain social media platforms to obtain

     Heimbach’s Content



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                    a      Plaintiffs subpoenaed Gab for Heimbach’s Content, among other things, on

     January 3, 2019 Gab would not agree to produce any Content from Heimbach’s Gab account, in

     part objecting to Plaintiffs’ request on the basis of the Stored Communications Act

            8       I am informed that Plaintiffs’ efforts to recover all deleted Content from

     Heimbach’s Gab, VK, and DS accounts were unsuccessful Some Content is still missing

                    a      For the @MatthewWHeimbach Gab account, Plaintiffs recovered third-

     party screenshots of 49 posts by Heimbach, from October 20 and December 3, 2017 and unknown

     other dates But Heimbach posted at least 1,005 times to his Gab account See Ex 16 Further,

     these third-party screenshots do not provide all data and metadata from Heimbach’s underlying

     post; for example, they often do not show the date of the post, which users liked or replied to the

     post, or any replies Heimbach posted in response Plaintiffs also could not recover Content from

     Heimbach’s Gab account that was never accessible to the public, such as direct messages

                    b      For the MatthewHeimbach VK account, Plaintiffs recovered 14 posts by

     third parties re-posting Heimbach Content and two Heimbach replies to third-party posts, dated

     August 20, 2017, and September 16 through December 2, 2018 Plaintiffs also recovered

     screenshots of stray posts from November 25, 2018 through February 16, 2019 However,

     Plaintiffs were informed by a third party that monitored the account that it was deleted on April

     24, 2019 Plaintiffs did not recover Content from the account between August 21, 2017 and

     September 16, 2018, or February 16 through April 24, 2019 Nor did Plaintiffs recover Content

     that was never accessible to the public, such as direct messages See, e.g., Ex 1 at 122:10-13

     (indicating Heimbach used VK to send private messages) Further, the third-party reposts and

     screenshots do not provide all data from Heimbach’s underlying post; for example, they often do

     not show how many or which users liked or viewed the post



                                                     4
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                    c      For the MatthewHeimbach Daily Stormer account, Plaintiffs recovered 15

     posts by Heimbach from July 2016 to February 2018 However, Plaintiffs’ searches did not recover

     any posts Heimbach “liked ” Some embedded data, including images or videos, from threads

     Heimbach participated in is also lost As noted above, Plaintiffs could not recover Content from

     Heimbach’s since-deleted profile page—which would have included information on how long his

     account had existed, how recently he had posted, how many posts he wrote, how many likes he

     received, and how many days he visited the website—as well as any private messages he sent or

     received There may be additional Content still saved on the website’s forum that Plaintiffs’

     searches did not uncover

     II.    Attempts to Obtain Relevant ESI from Heimbach’s Discarded Devices

            9       Plaintiffs attempted to recover any surviving, relevant ESI sent to or from

     Heimbach’s discarded Android and Blackview BV 800 Pro cell phones through various means

            10      I am informed that staff at KHF searched all productions by parties to this litigation

     and by subpoenaed third parties for documents containing the last seven digits of Heimbach’s

     phone number This returned 474 results as of June 1, 2020 The search revealed some – but not

     necessarily all – text messages between Heimbach and co-Defendant Jason Kessler, Heimbach and

     co-Defendant Chris Cantwell, and Heimbach and co-Defendant Kline

            11      Plaintiffs subpoenaed Heimbach’s cell phone providers, AT&T and Verizon, on

     June 25 and July 5, 2019, respectively, for data they maintained relating to Heimbach’s cell phone

     usage However, neither provider collects and stores the substantive content from its customer’s

     cell phones such as text messages, photos, or notes

            12      Plaintiffs’ efforts to recover all relevant ESI from Heimbach’s cell phones were

     unsuccessful Some relevant ESI is still missing



                                                     5
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            13     Heimbach testified that he did not use any system to back up data from his cell

     phones Thus any relevant data he saved to the devices locally, such as notes or photos, are now

     permanently lost

            14     Many of Heimbach’s relevant texts are also permanently lost

            15     Heimbach testified that he exchanged relevant texts with co-Defendants Matthew

     Parrott, Ex 1 at 64:10-12, and Jeff Schoep, id. at 68:21-25, and he claimed he could not recall

     whether he also exchanged relevant texts with co-Defendants Richard Spencer, id. at 70 8-13,

     Michael Hill, id. at 73:10-15, and Michael Tubbs, id. at 73:20-23

            16     Documents Plaintiffs obtained via third-party subpoena on T-Mobile for Tubbs’

     phone records show that Heimbach texted with Tubbs at least in August 2017 See Ex 17 at 14

     (showing texts exchanged with Heimbach’s phone number)

            17     I am informed that Plaintiffs have no texts exchanged between Heimbach and co-

     Defendants Parrott, Schoep, Spencer, Hill, and Tubbs

            I declare under penalty of perjury that the foregoing is true and correct


      Executed on: August 12, 2021
      New York, New York                                 Michael L Bloch




                                                     6
